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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

     DANIEL ROBERT                                *
     SSGT, U.S. ARMY                              *
                                                  *
     HOLLIE MULVIHILL                             *
     SSGT, USMC                                   *
                                                  *
            Plaintiffs,                           *
                                                  *
                    v.                            *
                                                  *       Civil Action No. 1:21-cv-002228
     LLOYD AUSTIN                                 *
     Secretary of Defense,                        *
     U.S. DEPARTMENT OF DEFENSE                   *
     Washington, D.C. 20301                       *
                                                  *
            and                                   *
                                                  *
     XAVIER BECERRA                               *
     Secretary of the U.S. Department of          *
     Health and Human Services                    *
     U.S. DEPARTMENT OF HEALTH                    *
     AND HUMAN SERVICES                           *
                                                  *
             and                                  *
                                                  *
     JANET WOODCOCK, Acting                       *
     Commissioner of the Food & Drug              *
     Administration                               *
     U.S. FOOD AND                                *
     DRUG ADMINISTRATION                          *
                                                  *
     UNITED STATES OF AMERICA                     *
                                                  *
            Defendants.                           *
     *      *     *     *          *       *      *       *      *       *      *       *


                                   AMENDED COMPLAINT

            Plaintiffs Staff Sergeant Daniel Robert, U.S. Army, and Staff Sergeant Hollie

     Mulvihill, USMC, individually and on behalf of all other similarly situated active duty,

     Guard, and Reserve service members and Department of Defense (“DoD”) contractors
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     that are subject to DoD health regulations, both as documented survivors of COVID-19

     and as servicemembers who have been ordered to submit to COVID-19 vaccinations, file

     this action against the DoD, specifically Defendant Lloyd Austin, Secretary of Defense

     (SECDEF), seeking a declaratory judgment. Plaintiffs claim that the DoD cannot force

     them to take a COVID-19 vaccination under existing military regulations, federal

     regulations, federal law, and the U.S. Constitution. The DoD has publicly notified

     Plaintiffs, via Memo by Defendant Austin, that they are to be vaccinated immediately.

     Each of the services have promulgated orders and instructions effectuating this

     requirement.

            SECDEF and DoD are already vaccinating military members in open violation of

     their legal obligations and the rights of servicemembers under federal law and the

     Constitution. Federal statutes 10 U.S.C. §1107 and 10 U.S.C. §1107a prohibit the use of

     any unlicensed vaccines whatsoever on service members without their informed consent.

     Plaintiffs seek declaratory and injunctive relief because the DoD is using an Emergency

     Use Authorization (“EUA”) COVID-19 vaccine in violation of 21 U.S.C. §360bbb-3 (the

     EUA statute), 10 U.S.C. §1107a, DoD Directive 6200.02, the FDA regulation of

     biologics at 21 C.F.R. §50 et seq., as well as the law regarding informed consent 50

     U.S.C. 1520 (“The Nuremburg Code”). Additionally, Army Regulation 40-562 (AR 40-

     562) provides documented survivors of an infection a presumptive medical exemption

     from vaccination because of the natural immunity acquired as a result of having survived

     the infection. “General examples of medical exemptions include the following…

     Evidence of immunity based on serologic tests, documented infection, or similar

     circumstances.” AR 40-562, ¶2-6a.(1)(b).




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            Neither the President, nor the Secretary of Defense, nor the Secretary of the

     Department of Health and Human Services, nor the Secretary of the Food and Drug

     Administration have complied with the requirements of those controlling pieces of

     federal law. Therefore, any involuntary vaccination of Plaintiffs is in direct violation of

     federal law, the attendant regulations, and the U.S Constitution, denying Plaintiffs Equal

     Protection of the laws under the 14th Amendment by treating Plaintiffs with natural

     immunity differently than their similarly situated peers in the military who have only

     simulated immunity, and violating their bodies with an experimental vaccine. Plaintiffs

     seek this relief pursuant to 10 U.S.C. §§1107 and 1107a, the Administrative Procedures

     Act, 5 U.S.C. §702, et seq., the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and

     the All Writs Act, 28 U.S.C. §1651. Plaintiffs also seek temporary and permanent

     injunctive relief preventing their forced vaccination attendant to their claims for

     declaratory judgment.

                                              PARTIES

            1.      Staff Sergeant Daniel Robert, U.S. Army, is an infantryman currently on

     active duty stationed at Fort Bragg, North Carolina.

            2.      Staff Sergeant Hollie Mulvihill, USMC, is an air traffic controller

     currently on active duty stationed at MCAS New River, North Carolina.

            3.      That class of people who are similarly situated and subject to the

     mandatory declarations and orders of the Department of Defense in relation to the

     compulsory use of Covid 19 vaccines, including contractors thereto.

            4.      Defendant, U.S. Department of Defense (“DoD”), is an agency of the

     United States Government. It is led by Secretary of Defense (“SECDEF”) Lloyd Austin




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     who directed the involuntary vaccination of service members, beginning immediately, on

     or about 24 August 2021.

            5.      Defendant, Department of Health and Human Services (HHS), is an

     agency of the United States Government. It is led by Secretary Xavier Becerra.

            6.      Defendant, Food and Drug Administration (“FDA”), is an agency of the

     United States Government. It is led by acting Secretary Janet Woodcock.

                                CLASS ACTION ALLEGATIONS

            7.      This action is brought by the plaintiffs on their own behalf and on behalf

     of the class of all other military members and DoD contractors similarly situated, under

     the provisions of Fed. R. Civ. P. (“FRCP”) 23(a) and (b).

            8.      The class so represented by the plaintiffs consists of (at least) active duty

     and reserve component members of the United States Armed Forces, National Guard

     members and DOD contractors affected by this order who either have already recovered

     from COVID-19, as well as all service members ordered to take any COVID-19 vaccine

     pursuant to the SECDEF order.

            9.      The exact number of members of this class described above is not

     precisely known, but there are currently in excess of 1.8 million members of the active-

     duty component of the Armed Forces and an unknown quantity of DOD contractors who

     are likewise subject to this order. The class is so numerous that joinder of individual

     members is impracticable, if not impossible.

            10.     The relief sought is common to the entire class and there are common

     questions of law and fact that relate to and affect the rights of each class member. These

     common questions include the exact legal status under 21 U.S.C. §355 of any of the




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     vaccines against COVID-19 that the military is using on members now and will use in the

     future; whether the vaccines are either properly licensed or being used under a

     Presidential waiver pursuant to a specific request from Defendant Austin, under 10

     U.S.C. §1107 or pursuant to the Emergency Use Authorization under 10 U.S.C. §1107a;

     and whether Defendant Austin is following the requirements of his own regulations.

     Certain defenses raised by the Plaintiffs would apply equally to all members of the class.

            11.     The Plaintiffs’ claims are typical of the claims all members of the class

     could make depending upon the exact nature of the vaccines and each Defendant’s

     actions with regard to their legal obligations. There is no conflict between Plaintiffs and

     other members of the class with respect to this action or with respect to the claims for

     relief made herein. Indeed, Plaintiffs’ claims would also apply to any military member

     ordered to take the vaccine of or who meets the requirements for medical exemption

     under AR 40-562, ¶2-6a(1)(a) or (1)(b).

            12.     The plaintiffs are representative parties for the class and are able to fairly

     and adequately protect the interests of the class. The attorneys for the Plaintiffs are

     experienced and capable in litigating the claims at issue and have engaged in substantial

     litigation on similar issues to these in previous litigation. Attorneys Todd Callender,

     David Wilson, John Michels Jr., Colton Boyle and Dale Saran will actively conduct and

     be responsible for the conduct of the action on behalf of the plaintiff class.

            13.     This action is properly maintained as a class action because the

     prosecution of separate actions by individual members of the class would create a risk of

     individual adjudications to class members that would as a practical matter be dispositive

     of the interests of others not party to the litigation or would substantially impair or




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     impede their ability to protect their interests.

             14.     This action is properly maintained as a class action because the mixed

     questions of law and fact common to the members of the class predominate over any

     questions affecting only individual members and a class action is superior to other

     available methods of fair and efficient adjudication of the controversy.

                                   JURISDICTION AND VENUE

             15.     There is a legitimate controversy because the plaintiffs in this case have

     been ordered to take an IND, or drug unapproved for its applied use, or EUA

     (experimental) vaccine without their informed consent and/or from which they already

     have the immunity by virtue of having already recovered from the illness. The orders are

     a clear violation of the provisions of 10 U.S.C.§ 1107 and 10 U.S.C. §1107a, as well as a

     violation of DoD regulations regarding vaccine exemptions for previously infected

     personnel. This case also implicates the most fundamental of all human rights, the right

     of a person to bodily integrity and to make their own choices about what will be put into

     their body. Defendant DoD has already begun vaccinating members in violation of its

     legal obligations.

             16.     Jurisdiction is proper in this Court under the Administrative Procedures

     Act, 5 U.S.C. §702, the Declaratory Judgment Act, 28 U.S.C. §2201, and under

     28 U.S.C. §§1331, 1346, and 1361.

             17.     Venue is proper in this Court pursuant to 28 U.S.C. §1402 where members

     of the plaintiff class are present in the district and directly affected by the proposed order,

     as are members, military leadership, and physically located military reservations of the

     Defendant DoD.




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                                  FACTUAL BACKGROUND

            18.     On 23 August 2021 Defendant FDA issued a “BLA Approval” letter to

     vaccine manufacturers Pfizer, Inc. (“Pfizer”) and Pfizer’s partner, BioNTech

     Manufacturing Gmbh, in Mainz, Germany. The letter reflects FDA’s issuance of a U.S.

     license to manufacture and market its COVID-19 vaccine, labeled with the proprietary

     name “COMIRNATY.” See Exhibit 7, BLA Approval Letter, pp. 1-2, 23 Aug 2021.

            19.     On the same date, 23 August 2021, RADM Denise Hinton, Chief

     Scientist, Defendant FDA, sent a letter to Pfizer, advising it that the Emergency Use

     Authorization (“EUA”) previously issued by FDA for its Pfizer-BNT Covid-19 vaccine

     (“Pfizer BNT”) would remain in place. The letter specifically states that the Pfizer-BNT

     produced vaccine was “legally distinct” from the COMIRNATY vaccine. See Exhibit 8,

     Hinton Letter to Pfizer Inc., footnotes 8 and 9, 23 Aug 2021.

            20.     Also on 23 August 2021, Pfizer issued a notice to “Health Care

     Professionals” indicating that while most of the Pfizer-BNT vaccine was only usable

     under its current EUA, several lots of the vaccine were in compliance with the 23 August

     2021 BLA Approval Letter from FDA for COMIRNATY and therefore licensed for

     administration to individuals 16 years of age and older. Seven production lots were

     identified as being covered by the BLA approval. The memo clearly notes that existing

     EUA lots of the Pfizer-BNT vaccine remained EUA and were not subject to the BLA

     approval/license for COMIRNATY issued by the FDA. See Exhibit 9, Boyce Letter

     Notice to Healthcare Professionals, 23 Aug 2021.

            21.     Also on 23 August 2021, Pfizer and BioNTech issued a COVID-19

     “Vaccine EUA Fact Sheet for Recipients and Caregivers.” The fact sheet states in




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     pertinent part:

            “This EUA for the Pfizer-BioNTech COVID-19 Vaccine and COMIRNATY will
            end when the Secretary of HHS determines that the circumstances justifying the
            EUA no longer exist or when there is a change in the approval status of the
            product such that an EUA is no longer needed.”

     (Emphasis added). See Exhibit 10, Vaccine EUA Fact Sheet, pg. 1, footnote 1, 23 August
     2021.

            22.        The FDA’s website and documents also list the Pfizer-BNT vaccine as

     being under an EUA; the labeling for the vaccine also continues to show that the Pfizer-

     BNT vaccine is an EUA product as of the date of the filing of this Amended Complaint.

            23.        On 24 August 2021, Defendant Austin issued a DOD-wide Memorandum

     directing “the Secretaries of the Military Departments to immediately begin full

     vaccination of all members of the Armed Forces under DOD authority on active duty or

     in the Ready Reserve, including the National Guard who are not fully vaccinated against

     COVID-19.”

            24.        Defendant Austin’s memo states that, “Those with previous COVID-19

     infection are not considered fully vaccinated.”

            25.        Defendant Austin’s Memorandum further states that, “Mandatory

     vaccination against COVID-19 will only use COVID-19 vaccines that receive full

     licensure from the Food and Drug Administration…” (emphasis added)

            26.        Commanders within Defendant DOD moved quickly to begin vaccination

     of their units of following Defendant Austin’s Memorandum. Because there was no

     COMINARTY vaccine available, all DOD units are using the EUA Pfizer-BNT vaccine

     that is not yet licensed by FDA. See Exhibit 11, Office of The Judge Advocate General

     SJA Update, pg. 2, 10 September 2021.




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            27.     In fact, various units within DOD received guidance that they could

     involuntarily vaccinate service members with unlicensed vaccines. This was ultimately

     expanded to a service-wide practice. See Exhibit 12, Asst. Secretary of Defense

     Memorandum “Mandatory Vaccination of Service Members Using the Pfizer-BioNTech

     COVID-19 and COMIRNATY COVID-19 Vaccines,” 14 September 2021; Exhibit 12,

     Dept. of the Navy, Bureau of Medicine and Surgery Memorandum, Subject:

     Interchangeability of the FDA-Approved Pfizer-BioNTech Vaccine COMIRNATY and

     FDA-Authorized Pfizer-BioNTech Vaccine Under EUA, 3 September 2021.

            28.     As of the filing of this Amended Complaint, no COMINARTY vaccine

     has been used in the thousands of involuntary inoculations administered by Defendant

     DOD. In addition, there has been no attempt by DOD to identify or use only vaccine from

     the seven lots apparently covered by the FDA license. DOD organizations, in violation of

     federal law and SECDEF Austin’s explicit direction, are using an unlicensed vaccine to

     inoculate service members based on DOD guidance that COMINARTY and Pfizer-BNT

     are “interchangeable.” See Exhibit 10, at pg. 2.

            29.     Failure by service members to submit to the illegal orders of their

     superiors requiring will result in administrative, non-judicial, and judicial punishment

     under the Uniform Code of Military Justice and service regulations. Id.

            30.     There are significant, critical legal limitations on DOD’s ability to

     involuntarily inoculate service members. Federal law only allows the forced vaccination

     of service members with an IND or unlicensed vaccine after the Secretary of Defense has

     complied with all the legal requirements of 10 U.S.C. §1107 or §1107a, depending upon

     the status of the vaccine.




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            31.      10 U.S.C. §1107 states in pertinent part:

        (a) Notice Required.

     (1) Whenever the Secretary of Defense requests or requires a member of the armed forces

     at the end to receive an investigational new drug or a drug unapproved for its applied use,

     the Secretary shall provide the member with notice containing the information specified

     in subsection (d)…

            (f) Limitation and Waiver.—

                  (1) In the case of the administration of an investigational new drug or a drug

                  unapproved for its applied use to a member of the armed forces in connection

                  with the member’s participation in a particular military operation, the

                  requirement that the member provide prior consent to receive the drug in

                  accordance with the prior consent requirement imposed under section

                  505(i)(4) of the Federal Food, Drug, and Cosmetic Act (21 U.S.C. 355(i)(4))

                  may be waived only by the President. The President may grant such a

                  waiver only if the President determines, in writing, that obtaining consent is

                  not in the interests of national security. (emphasis added).

            32.              10 U.S.C. 1107a states in pertinent part:

        (a) Waiver by the President —

                  (1) In the case of the administration of a product authorized for emergency use

                  under section 564 of the Federal Food, Drug, and Cosmetic Act to members of

                  the armed forces, the condition described in section 564(e)(1)(A)(ii)(III) of

                  such Act and required under paragraph (1)(A) or (2)(A) of such section

                  564(e), designed to ensure that individuals are informed of an option to accept




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                  or refuse administration of a product, may be waived only by the President

                  only if the President determines, in writing, that complying with such

                  requirement is not in the interests of national security (emphasis added).

            33.      As of the date of this filing, there has been no such waiver of

     servicemembers’ right to informed consent issued by the President of the United States.

            34.      DoD Instruction 6202.02 (“DoDI”) states (in part) that –

                The Heads of DoD Components:
                …Shall, when requesting approval to use a medical product under an EUA or
        IND application, develop, in coordination with the Secretary of the Army, medical
        protocols, compliant with this Instruction, for use of the product and, if the request is
        approved, execute such protocols in strict compliance with their requirements…
                Shall, when using medical products under a force health protection program
        pursuant to an EUA, comply with Enclosure 3, Federal Food Drug and Cosmetic Act
        section 564 (Reference (d)), section 1107a of Reference (e) and applicable FDA
        requirements.
                Shall, when using medical products under a force health protection program
        pursuant to an IND application, comply with Enclosure 4, section 1107 of 10 U.S.C.,
        and applicable provisions of References (e) through (g). Requirements applicable to
        the use of medical products under an IND application do not apply to the use of
        medical products under an EUA within the scope of the EUA.

            35.      One of the obligations that Defendant SECDEF Austin has with respect to

     use of an IND/drug unapproved for its applied use (under §1107) is to provide detailed,

     written notice to the servicemember that includes information regarding (1) the drug’s

     status as an IND, unapproved for its applied use, or EUA; (2) “[t]he reasons why the

     investigational new drug or drug unapproved for its applied use is being administered[;]”

     and (3) “the possible side effects of the investigational new drug or drug unapproved for

     its applied use, including any known side effects possible as a result of the interaction of

     such drug with other drugs or treatments being administered to the members receiving

     such drug.”

            36.      Federal law requires that Defendant SECDEF Austin’s request to



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     President Biden for a written authorization to waive a service member’s right to informed

     consent include the certification that such vaccination is required as to a particular

     member’s participation in a specified military operation that contains the following

     additional criteria:

                     (i) The extent and strength of evidence of the safety and effectiveness of

         the Investigational New Drug in relation to the medical risk that could be encountered

         during the military operation, supports the drug’s administration under an IND; and

                     (ii) The specified military operation presents a substantial risk that military

         personnel may be subject to a chemical, biological, nuclear, or other exposure likely

         to produce death or serious or life-threatening injury or illness; and

                     (iii) That there is no available satisfactory alternative therapeutic or

         preventive treatment in relation to the intended use of the investigational new

         drug; and

                     (iv) that conditioning the use of the investigational new drug upon

         voluntary participation of each member could significantly risk the safety and health

         of any individual member who would decline its use, the safety of other military

         personnel, and the accomplishment of the military mission […]

     which remains undefined at this time (emphasis added).

             37.     The relevant Defendants have not complied with any of these

     requirements and have engaged in an ongoing pattern of vaccination of service members

     in violation of these obligations and service members’ rights.

             38.     The applicable section of the Federal Food, Drug, and Cosmetic Act (Title

     21, Chapter 9) regarding Emergency Use Authorization (EUA) of biologics on military




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     members is found at 10 U.S.C. §1107a. This statute also requires nothing less than a

     written Presidential waiver of service members right to informed consent.

            39.     The Defendant Secretaries have not complied with the law and their

     respective requirements to support the DoD’s actions in vitiating the informed consent

     rights of servicemembers regarding these unapproved biologics:

            (a) these drugs are not being used in response to any specific military threat in a

     theater of operations, but rather are being used to move forward with an unnecessary

     public health mandate;

            (b) there is near zero risk to healthy, fit, young men and women of the U.S.

     Armed Services, and

            (c) there are numerous safe, long-standing, proven alternative treatments (such as

     ivermectin, “anti-infective oral and nasal sprays and washes, oral medications, and

     outpatient monoclonal antibodies, which are ‘approved’ drugs by the Food and Drug

     Administration and highly effective in preventing and treating COVID-19”) and the

     existence of such treatments is a legal bar to the use of an EUA or IND without informed

     consent.

            40.     In addition, Army Regulation 40-562 “Immunization and

     Chemoprophylaxis for the Prevention of Infectious Diseases”1 presumptively exempts

     from any vaccination requirement a service member that the military knows has had a

     documented previous infection.

            41.     Plaintiffs, individually, and as class members have previously suffered and


     1
       This document is an all-service publication and has an equivalent name for each of the
     applicable services. We have chosen to use the Army designation throughout for ease, but
     these arguments apply equally under AFI 48-110, BUMEDINST 6230.15B,
     COMDETINST M6230.4G. See, AR 40-562, ¶2-6a.(1)(b).


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     recovered from COVID-19 infections with the development of natural immunity as

     demonstrated to or documented by the military.

                42.     AR 40-562 was signed on Oct. 7, 2013, went into effect on Nov. 7, 2013,

     and remains in effect today. It applies to all branches of the military. The Regulation also

     applies whether the proposed COVID-19 vaccines Defendant DoD seeks to administer to

     Plaintiffs and the class are “Investigational New Drugs” as defined in 21 CFR 56.104(c)

     (“IND”), an IND under Emergency Use Authorization, 21 USC Sec. 360bbb-3 (“EUA”),

     or a fully approved FDA vaccine.

                43.     At the time of Defendant Austin’s memorandum, there was more than

     sufficient evidence to establish that previous infection with COVID-19 provided greater

     immunity to an individual that the Pfizer-BNT or COMIRNATY vaccine. See Exhibit 14

     with attached CV, Expert Medical opinion of Dr. Peter A. McCullough, M.D., M.P.H.

     See also “Comparing SARS-CoV-2 natural immunity to vaccine-induced immunity:

     reinfections versus breakthrough infections,” Gazit, Shlezinger, et al., (preprint study

     examining ~26% of the Israeli population from Mar. 1, 2020 – Aug. 14, 2021)2.

                44.     Service members that have natural immunity from surviving the virus

     should be granted a medical exception from compulsory vaccination because the DoD

     Instruction reflects the well-established understanding that prior infection provides the

     immune system’s best possible response to the virus, as opposed to simulated infection

     with something other than the virus itself. “COVID-19 did not occur in anyone over the

     five months of the study among 2579 individuals previously infected with COVID-19,

     including 1359 who did not take the vaccine.” See, e.g., Exhibit 15, Necessity of COVID-



     2
         Available for download here: https://doi.org/10.1101/2021.08.24.21262415


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     19 vaccination in previously infected individuals, Shrestha, Burke, et al., Cleveland

     Clinic.3 “Following the science” as it relates to COVID-19 validates and reaffirms the

     wisdom of maintaining long-established virology protocol, codified by Defendant DOD’s

     own experts in AR 40-562 in 2013.

             45.      At a minimum, Defendant DOD should be ordered to stop its universal

     vaccination policy of all personnel, even with the licensed product when it becomes

     available, until DOD can assess the immunological condition of COVID-19 survivors

     within its ranks and decide whether the vaccination is necessary to provide a desired level

     of protection or immunity.

                               FIRST CAUSE OF ACTION
                   (VIOLATION OF ADMINISTRATIVE PROCEDURE ACT)

             46.      Plaintiffs reallege all facts in Paragraphs 1 through 45 as if fully set forth

     in this Count.

             47.      The United States Government, acting through the DOD, violated its own

     regulations, DoDI 6200.02, and AR 40-562, by ignoring the Plaintiffs right to informed

     consent and vaccinating members of the armed forces without complying with applicable

     federal law and implementing regulations.

             48.      The Defendants’ failure to follow federal law and regulations creates a

     legal wrong against the Plaintiffs.

             49.      As a result of the defendants’ unlawful actions, the Plaintiffs have suffered

     damages, including being required to take an unlicensed drug of unknown long-term

     safety profile; being subject to or threatened with disciplinary action under the Uniform



     3
      Plaintiffs have included a small sample of studies demonstrating the superiority of naturally acquired
     immunity over novel mRNA vaccines, which have no established safety history and unknown side-effects.


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     Code of Military Justice (UCMJ), including adverse administrative action that would

     characterize Plaintiffs’ voluntary service as “other than honorable.”

                                   SECOND CAUSE OF ACTION

                                 (VIOLATION OF 10 U.S.C. §1107)

            50.       Plaintiffs reallege the facts in Paragraphs 1 through 45 as if fully set forth

     in this Count.

            51.       This case involves an actual controversy surrounding the legality of orders

     or actions the DoD has taken with regard to vaccinating service members against

     COVID-19 in the absence of the Secretaries and DoD’s statutory obligations.

            52.       The United States Government, acting through the DoD, violated a federal

     statute, namely 10 U.S.C. §1107, as well as DoDI 6200.02, when it illegally required

     members of the class of Plaintiffs to submit to COVID-19 vaccinations with an

     unlicensed IND, or a vaccine “unapproved for its applied use” status.

            53.       As a result of the defendants’ unlawful actions, the Plaintiffs have suffered

     damages, including being required to take an unlicensed drug of unknown long-term

     safety profile; being subject to or threatened with disciplinary action under the Uniform

     Code of Military Justice (UCMJ), or adverse administrative action that would

     characterize Plaintiffs’ voluntary service as “other than honorable.”

                                    THIRD CAUSE OF ACTION

                                 (VIOLATION OF 10 U.S.C. §1107a)

            54.       Plaintiffs reallege the facts in Paragraphs 1 through 45 as if fully set forth

     in this Count.

            55.       This case involves an actual controversy surrounding the legality of any




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     orders or actions the DoD has taken with regard to vaccinating service members against

     COVID-19 in the absence of the Secretaries and DoD’s statutory obligations.

            56.       The United States Government, acting through the DoD, HHS, and FDA,

     violated a federal statute, namely 10 U.S.C. §1107a, as well as 21 U.S.C. §355, and DoDI

     6200.02, when it illegally required members of the class of Plaintiffs to submit to

     COVID-19 vaccinations in an EUA status.

            57.       As a result of the defendants’ unlawful actions, the Plaintiffs have suffered

     damages, including being required to take an unlicensed drug of unknown long-term

     safety profile; being subject to or threatened with disciplinary action under the Uniform

     Code of Military Justice (UCMJ), and including adverse administrative action that would

     characterize Plaintiffs’ voluntary service as “other than honorable.”

                                   FOURTH CAUSE OF ACTION

                                 (VIOLATION OF 50 U.S.C. §1520)

            58.       Plaintiffs reallege the facts in Paragraphs 1 through 45 as if fully set forth

     in this Count.

            59.       This case involves an actual controversy surrounding the legality of any

     orders or actions the DoD has taken with regard to vaccinating service members against

     COVID-19 in the absence of the Secretaries and DoD’s statutory obligations.

            60.       The United States Government, acting through the DoD, HHS, and FDA,

     violated a federal statute, namely 50 U.S.C. §1520, when it illegally required members of

     the class of Plaintiffs to submit to COVID-19 vaccinations in any FDA status. The right

     of informed consent is one of the sacrosanct principles that came out of the Nazi Doctor

     Tribunals conducted at Nuremburg. The overriding legal principle was that no State, not




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     even the United States, may force its citizens to undergo unwanted medical procedures

     merely by declaring an emergency.4

              61.      As a result of the defendants’ unlawful actions, the Plaintiffs have suffered

     damages, including being required to take an unlicensed drug of unknown long-term

     safety profile; being subject to or threatened with disciplinary action under the Uniform

     Code of Military Justice (UCMJ), and including adverse administrative action that would

     characterize Plaintiffs’ voluntary service as “other than honorable.”

                                      FOURTH CAUSE OF ACTION

             (VIOLATION OF THE FOURTEENTH AMENDMENT TO THE U.S.

                                               CONSTITUTION)

              62.      Plaintiffs reallege the facts in Paragraphs 1 through 45 as if fully set forth

     in this Count.

              63.      This case involves an actual controversy surrounding the legality of any

     orders or actions the DoD has taken with regard to vaccinating service members against

     COVID-19.

              64.      The United States Government, acting through the DoD, has violated the

     class Plaintiffs’ Equal Protection rights under the Fourteenth Amendment by making

     arbitrary, unscientific, unsupportable distinctions between Plaintiffs, who have naturally

     acquired immunity, and other similarly situated military members who have only

     artificially induced immunity through a vaccine. The scientific evidence shows that

     vaccines (a) do not stop reinfection among the vaccinated, (b) do not stop spread of the

     virus by the vaccinated. Thus, there is no impact on good order and discipline or the


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      If this were the correct legal principle, then the Nazi doctors were wrongly tried and convicted as
     Germany was in a declared state of emergency at the time of the Nazi medical experiments.


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     health of the Total Force by Plaintiffs remaining unvaccinated and no logical reason why

     the class of Plaintiffs should be treated any differently than their peers.

            65.     As a result of the defendants’ unlawful actions, the Plaintiffs have suffered

     damages, including being required to take an unlicensed drug of unknown long-term

     safety profile; being subject to or threatened with disciplinary action under the Uniform

     Code of Military Justice (UCMJ), and including adverse administrative action that would

     characterize Plaintiffs’ voluntary service as “other than honorable.”



     WHEREFORE, Plaintiffs respectfully ask this Court to:

            A.      Find that the use of Pfizer-BNT COVID-19 vaccine for forcible

                    inoculation of U.S. military members to be illegal until and unless the

                    Secretary of Defense complies with his statutory requirements in

                    requesting a waiver of informed consent and until the President makes the

                    requisite finding under 10 U.S.C. §1107; and

            B.      Find that all members of the Plaintiffs’ class that have survived infection

                    with COVID-19 are still entitled to a medical exemption from vaccination

                    even after the Defendants have complied with their legal obligations under

                    the implementing DoDI 6200.02;

            If applicable,

            C.      Find that the use of vaccines under an EUA is illegal until and unless all of

                    the Defendants comply with their statutory obligations in requesting a

                    waiver of informed consent under 10 U.S.C. §1107a and the implementing

                    regulations and laws;




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            D.      Find that all members of the Plaintiffs’ class that have survived infection

                    with COVID-19 are entitled to individual assessment to determine their

                    eligibility for a medical exemption from vaccination even after the

                    Defendants have complied with their legal obligations under DoDI

                    6200.02;

     Plaintiffs also ask this Honorable Court to:

            E.      Find and declare that any order issued by DoD requiring the Plaintiffs to

                    receive inoculation with COVID-19 vaccines are per se unlawful;

            F.      Enjoin the DoD from vaccinating any service members until this action

                    has completed and the status of any vaccine has been determined and the

                    requirements for taking away Plaintiffs’ rights of informed consent have

                    been met; and

            G.      Award Plaintiffs their costs and attorneys’ fees and any other relief this

                    Court may find appropriate.


     Date: September 23, 2021

                                                     Respectfully submitted,


                                                            /s/
                                                     _____________________________
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